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2/26/2025
CLERK, U.S. DISTRICT COURT
SEALED WESTERN DISTRICT OF TEXAS
By: __JB
IN THE UNITED STATES DISTRICT COURT ¥ Dent

FOR THE WESTERN DISTRICT OF TEXAS
MIDLAND/ODESSA DIVISION Case No: 7:25-CR-00035

UNITED STATES OF AMERICA
Plaintiff
INDICTMENT
Vv
(1) ENRIQUE SALAZAR
(2) ALEX MANUEL COUNT 1: 18 U.S.C. § 933 —
ee Trafficking of Firearms
Defendants COUNT 2 — COUNT 3: 18 U.S.C. §
922(a)(6) — False Statement During Purchase
of a Firearm

THE GRAND JURY CHARGES:

COUNT ONE
[18 U.S.C. § 933]

On or about September 27, 2023, until on or about February 28, 2024, in the Western

District of Texas, Defendants,

(1) ENRIQUE SALAZAR,
(2) ALEX MANUEL and

did knowingly conspire and agree with persons known and unknown to the grand jurors to ship,

transport, transfer, cause to be transported, and otherwise dispose of one and more firearms,
including, but not limited to, the following:

1. a Barrett model M82A1 bearing serial number: AA016670;

2. a Barrett model M82A1 bearing serial number: AA016833;

3. a Barrett model M82A1 bearing serial number: AA017212;

4. an Ohio Ordinance Works model M2 SLR bearing serial number:
850549;
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5. a Big Kahuna Industries model Raptor 50 bearing serial number: 230151.
to another person, in and affecting interstate and foreign commerce, knowing and having
reasonable cause to believe that the use, carrying, and possession of a firearm by the recipient
would constitute a felony (as defined in section 932(a)), in violation of Title 18, United States
Code, Sections 933(a)(1), (a)(2), (a)(3), and (b).

COUNT TWO
[18 U.S.C. § § 922(a)(6) and 924(a)(2)]

On or about September 27, 2023, in the Western District of Texas, Defendant,
(2) ALEX MANUEL

in connection with the acquisition of a firearm, to wit: a Barrett model M82A1 semi-automatic
rifle chambered in 50BMG bearing serial number: AA016670, from Magnum Ballistics an online
Federal Firearm’s Licensee, a licensed dealer of firearms within the meaning of Chapter 44, Title
18, United States Code, did knowingly made a false and fictitious written statement to Magnum
Ballistics an online Federal Firearm’s Licensee, which statement was intended and likely to
deceive Magnum Ballistics an online Federal Firearm’s Licensee, as to a fact material to the
lawfulness of such sale of the said firearm to the defendant under chapter 44 of Title 18, in that the
defendant represented that she was the actual transferee/buyer of the firearm; in violation of Title
18, United States Code, Sections 922(a)(6) and 924(a)(2).

COUNT THREE
[18 U.S.C. § § 922(a)(6) and 924(a)(2)]

On or about November 1, 2023, in the Western District of Texas, Defendant,

in connection with the acquisition of a firearm, to wit: a Barrett model M82A1 50 caliber rifle

bearing serial number: AA016833 from Magnum Ballistics an online Federal Firearm’s Licensee,

to
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a licensed dealer of firearms within the meaning of Chapter 44, Title 18, United States Code, did
knowingly made a false and fictitious written statement to Magnum Ballistics an online Federal
Firearm’s Licensee, which statement was intended and likely to deceive Magnum Ballistics an
online Federal Firearm’s Licensee, as to a fact material to the lawfulness of such sale of the said
firearm to the defendant under chapter 44 of Title 18, in that the defendant represented that she
was the actual transferee/buyer of the firearm; in violation of Title 18, United States Code, Sections
922(a)(6) and 924(a)(2).

COUNT FOUR
[18 U.S.C. § § 922(a)(6) and 924(a)(2)]

On or about December 27, 2023, in the Western District of Texas, Defendant,
a
in connection with the acquisition of a firearm, to wit: a Barrett model M82A1 50 caliber rifle
bearing serail number: AA017212, from Magnum Ballistics an online Federal Firearm’s Licensee,
a licensed dealer of firearms within the meaning of Chapter 44, Title 18, United States Code, did
knowingly made a false and fictitious written statement to Magnum Ballistics an online Federal
Firearm’s Licensee, which statement was intended and likely to deceive Magnum Ballistics an
online Federal Firearm’s Licensee, as to a fact material to the lawfulness of such sale of the said
firearm to the defendant under chapter 44 of Title 18, in that the defendant represented that she
was the actual transferee/buyer of the firearm; in violation of Title 18, United States Code, Sections

922(a)(6) and 924(a)(2).
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NOTICE OF UNITED STATES OF AMERICA'S DEMAND FOR FORFEITURE
| See FED. R. CRIM. P. 32.2]

lL.
Firearms Violation and Forfeiture Statutes
| Title 18 U.S.C. § 933(a)(1),
subject to forfeiture pursuant to Title 18 U.S.C. §§ 934(a)(1)(B) and 924(d)(1).]

As a result of the foregoing criminal violation set forth in Count One, the United States of
America gives notice to the Defendant of its intent to seek the forfeiture of property, including any
items listed below, upon conviction and as a part of sentence pursuant to FED. R. CRIM. P. 32.2 and
Title 18 U.S.C. §§ 934(a)(1)(B) and 924(d)(1), which states the following:

Title 18 U.S.C. § 934. Penalties

(a)(1)(B) any of the person’s property used, or intended to be used, in any manner or

part, to commit, or to facilitate the commission of, such violation, except that for any

forfeiture of any firearm or ammunition pursuant to this section. . . .

Title 18 U.S.C. § 924. Penalties
(d)(1) Any firearm or ammunition involved in or used in any knowing violation of
subsection... (g)... of section 922, . . . shall be subject to seizure and forfeiture... .

This Notice of Demand for Forfeiture includes but is not limited to the following.

1. Big Kahuna Industries model Raptor 50, serial number 230151; and
2. Any related ammunition and firearm accessories.

MARGARET F. LEACHMAN
Acting United States Attorney

By: i i — psf
Patrick Sloane
Assistant United States Attorney

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